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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                        RICHMOND DIVISION

 In re:                                                   )   Case No. 08-36642-DOT
                                                          )
 CANAL CORPORATION, et al.,                               )   Chapter 11
                                                          )
                                       Debtors.1          )   (Jointly Administered)
                                                          )
                                                          )

             FIFTH ORDER EXTENDING THE EXCLUSIVE PERIODS TO FILE AND
                     SOLICIT ACCEPTANCES OF CHAPTER 11 PLAN

           Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors-in-possession

 (collectively, the “Debtors”) for entry of an order, pursuant to section 1121(d) of the Bankruptcy

 Code, (i) extending the period during which the Debtors have the exclusive right to file a plan or

 plans (the “Exclusive Filing Period”) from April 26, 2010 through and including June 29, 2010,

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                    The Debtors and the last four digits of their respective taxpayer identification numbers are as
           follows: Canal Corporation (f/k/a/ Chesapeake Corporation) (6880), Canal NC Company (f/k/a
           Chesapeake Printing and Packaging Company) (9208), Canal NY Company, Inc. (f/k/a Chesapeake
           Pharmaceutical Packaging Company, Inc.) (0010), Canal IH Company (f/k/a Chesapeake International
           Holding Company) (1532), WTM I Company (1080), Sheffield, Inc. (6314), Canal Resources Company (f/
           k/a Chesapeake Assets Company) (5293), Canal YR Company (f/k/a Chesapeake Recycling Company)
           (9383), Canal D&P Company (f/k/a Chesapeake Display and Packaging Company) (4207), Canal Virginia
           Company (f/k/a The Chesapeake Corporation of Virginia) (6783), Canal Corporation (Wisconsin) (f/k/a
           Chesapeake Corporation (Wisconsin)) (7682), Canal Corporation (Massachusetts) (f/k/a Chesapeake
           Corporation (Massachusetts)) (7686), Canal Corporation (D.C.) (f/k/a Chesapeake Corporation (D.C.))
           (7684), Canal Corporation (Illinois) (f/k/a Chesapeake Corporation (Illinois)) (7685), Canal Corporation
           (Louisiana) (f/k/a Chesapeake Corporation (Louisiana)) (7681), Canal FP Company, LLC (f/k/a
           Chesapeake Forest Products Company, LLC) (6880), Canal DE Company (f/k/a Cary St. Company) (9092),
           Canal DP Company (f/k/a Delmarva Properties, Inc.) (7160), and Canal SH Company (f/k/a Stonehouse
           Inc.) (2481).

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                   Unless otherwise defined herein, all capitalized terms shall have the meaning ascribed to them in
           the Motion.
 Benjamin C. Ackerly (VSB No. 09120)                                        Peter S. Partee (VSB No. 34140)
 Jason W. Harbour (VSB No. 68220)                                           HUNTON & WILLIAMS LLP
 HUNTON & WILLIAMS LLP                                                      200 Park Avenue, 53rd Floor
 Riverfront Plaza, East Tower                                               New York, New York 10166-0136
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 Attorneys for Debtors and
 Debtors-in-Possession
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 and (ii) extending the period during which the Debtors have the exclusive right to solicit

 acceptances thereof (the “Exclusive Solicitation Period”; together with the Exclusive Filing Period,

 the “Exclusive Periods”) from June 21, 2010 through and including August 29, 2010, the Court

 finds that: (a) it has jurisdiction over the matters raised in the Motion pursuant to 28 U.S.C. §§ 157

 and 1334(b); (b) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); (c) the relief

 requested in the Motion is in the best interest of the Debtors, their estates and creditors; (d) proper

 and adequate notice of the Motion and the hearing thereon has been given and no other or further

 notice is necessary; and (e) upon the record herein after due deliberation thereon, good and

 sufficient cause exists for the granting of the relief as set forth herein. Therefore,

          IT IS HEREBY ORDERED THAT:

           1.    The Motion is GRANTED.

           2.    The Exclusive Filing Period is extended through and including June 29, 2010.

           3.    The Exclusive Solicitation Period is extended through and including August 29,

  2010.




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         4.    This Court retains jurisdiction with respect to all matters arising from or related to

  the implementation of this Order.

  Apr 20 2010                                        /s/ Douglas O. Tice Jr.
 Dated: Richmond, Virginia
                               , 2010                        United States Bankruptcy Judge
                                                      Entered on Docket: April 21, 2010

 WE ASK FOR THIS:

 HUNTON & WILLIAMS LLP

 /s/ Jason W. Harbour
 Benjamin C. Ackerly (VSB No. 09120)
 Jason W. Harbour (VSB No. 68220)
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 Attorneys for Debtors and
  Debtors-in-Possession


                             LOCAL RULE 9022-1 CERTIFICATION

 I, Jason W. Harbour, hereby certify that the foregoing proposed order was served on all necessary
 parties.

                                                               /s/ Jason W. Harbour




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